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 1   DANIEL J. BRODERICK, Bar #89424
     Federal Defender
 2   ERIC V. KERSTEN, Bar #226429
     Assistant Federal Defender
 3   Designated Counsel for Service
     2300 Tulare Street, Suite 330
 4   Fresno, California 93721-2226
     Telephone: (559) 487-5561
 5
     Attorney for Defendant
 6   Carlos Martinez
 7                                IN THE UNITED STATES DISTRICT COURT
 8                              FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,             )              NO. 1:10-CR-380 LJO
                                           )
11                     Plaintiff,          )             STIPULATION TO CONTINUE SENTENCING
                                           )             HEARING AND ORDER
12         v.                              )
                                           )
13   CARLOS MARTINEZ,                      )              Date: November 4, 2011
                                           )              Time: 9:00 a.m.
14                     Defendant.          )              Judge: Hon. Lawrence J. O’Neill
     _____________________________________ )
15
16          IT IS HEREBY STIPULATED by and between the parties hereto through their respective counsel,
17   KAREN A. ESCOBAR, Assistant United States Attorney, counsel for plaintiff, and ERIC V. KERSTEN,
18   Assistant Federal Defender, counsel for defendant, Carlos Martinez, that the date for sentencing may be
19   continued to November 4, 2011, or the soonest date thereafter that is convenient to the court. The date
20   currently set for sentencing is October 28, 2011, at 9:00 a.m. The requested new date is November
21   4, 2011, at 9:00 a.m.
22          Mr. Martinez is awaiting sentencing after pleading guilty pursuant to a plea agreement. It is
23   anticipated that Mr. Martinez will qualify for a reduction in sentence pursuant to the safety valve provision
24   of the sentencing guidelines; however, he has not yet debriefed. Mr. Martinez is currently housed in Kern
25   County and the government has agreed that he may debrief by means of a written proffer. The requested
26   continuance will allow additional time to resolve any questions that may arise regarding the written
27   proffer. In addition, defense counsel has a calendar conflict in that he is scheduled to attend two parent
28   teacher conferences on the morning of October 28, 2011.
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 1            The parties agree that the delay resulting from the requested continuance shall be excluded as
 2   necessary for effective defense preparation, and also for continuity of counsel, pursuant to 18 U.S.C.
 3   § 3161(h)(7)(A) and (B)(iv). For this reason, the ends of justice served by the granting of the requested
 4   continuance outweigh the interests of the public and the defendants in a speedy trial.
 5
 6                                                               BENJAMIN B. WAGNER
                                                                 United States Attorney
 7
 8            DATED: October 20, 2011                         By /s/ Karen A. Escobar
                                                                 KAREN A. ESCOBAR
 9                                                               Assistant United States Attorney
                                                                 Attorney for Plaintiff
10
11
12                                                               DANIEL J. BRODERICK
                                                                 Federal Defender
13
14            DATED: October 20, 2011                         By /s/ Eric V. Kersten
                                                                ERIC V. KERSTEN
15                                                              Assistant Federal Defender
                                                                Attorney for Defendant
16                                                              Carlos Martinez
17
18
19                                                            ORDER
20            The intervening period of delay is excluded in the interests of justice pursuant to 18 U.S.C. §
21   3161(h)(7)(A) and (B)(iv). Good cause exists for the requested relief.
22
23   IT IS SO ORDERED.
24   Dated:      October 20, 2011                           /s/ Lawrence J. O'Neill
     b9ed48                                             UNITED STATES DISTRICT JUDGE
25
26
27
28


     Martinez: Stipulation to Continue Sentencing and Order      2
